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                        6(flN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION
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ARTHUR CARSON, PLAINTIFF

V.                                                CASE NO. 4:19-CV--256

ROGER LACY, AND
LAIDLAW & LACY INC.,DEFENDANTS.

                        PLAINTIFF'S BRIEF IN SUPPORT OF MOTION
                       TO STRIKE DEFENDANTS RULE 26(F) REPORT



TO THE HONORABLE JUDGE OF SAID COURT:

 Comes _t-JowJh~_ Plaintiff, Arthur Carson, and brings this His Brief in Support of His=Motioo -

To Strike the Report made by Defendants Counsel, Abtin Mehdizadegan, which were not

A joint Report, but an extension of their Motion to Dismiss. The Court may strike this

Report for its false statements, immateriality and being scandalous, insufficient defense,

Or being redundant, see Lunsford V. U.S. 570 F.2d. 221,227 n. 11(8th Cir. 1977).

 The Report filed represent the same impertinent, redundant issues raised in their Motion

To Dismiss and Brief, now disguised as a" Joint Report".

Plaintiff would now reiterate the lack of merit of Defendants Position:

1). Anita Cotton, the Manager for D & B , Laidlaw, excepted service for defendants, due j 0

Roger Lacy's evasiveness. Service on the Manager, is consistent with Arkansas Law.see;

May V. Bol Hankins ist. CO., 301 Ark. 494, 785 S.W. 2d. 23(1992), and Lyons V. Forrest-

City Mech. Works, Inc., 301 Ark. 559,561, 785 S.W. 2d. 220, 221(1990). The improper

Service argument by Defendants are a sham.
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2). Abtin Mehizadegan, Counsel, had no intentions on a comprehensive discussion with

The Plaintiff, nor did He plan to consider, confer on the nature of Plaintiff's claims, or

The possibility for promptly settling or resolving the case.

 Plaintiff have been impeded in His ability to develop a sequence for using the various

Discovery tools. The Defendants have turned the Rule 26(f) Conference into a Summary

Judgment process. That being the case, Plaintiff is entitled to Discovery at this juncture,

As per Rule 56(f), FRCP.

 The tone was set in Defendant's answer to the Lawsuit, and Motion to dismiss, which were

Vituperative in its false accusations. Plaintiff, ask this Court to take Judicial Notice of statements

Made in Defendants Brief in support of Dismissal, which states in pertinent Part, " Plaintiff

Is unable to Work as a consequence to His SSDI status"{Sic}.

 Perhaps the United States Congress was not aware of Counsel's Law. but it is his false

Portrayal of facts and law that Represent the tactics used by Defendant's that should be

Questioned.

 Abtin Mehizadegan, Has squandered an opportunity to cooperate, communicate, and save

Judicial Resources, by His Client Money. Communication is defined as the "Imparting or the

Exchanging of information or news". This never happened in this matter. Counsel, waited

Until the Report's due date October 15, 2019, whimsically Call Plaintiff at Work, in the heat of
                I


Deadline period to finish the Report crucial nuts and bolts.



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3). Prose Litigants, as well as those Represented by Counsel, are entitled to Meaningful

Access to Court, Bounds V. Smith, 430 U.S. 817, 828(1977). Sufficient Access entails

Equal treatment during the process. Plaintiff has been denied any meaningful opportunity

To present His Views in the Rule 26(f) Report, thereby making His access to Court a

Meaningless gesture.

4). The Eighth Circuit Court of Appeals, long ago held," It is Discrimination under Title VII,

For an Employer to follow the Policy of disqualifying for Employment, any applicant with

A Conviction", Green V. Missouri Pacific Railroad, 594 F.2d. 1158, 1160(8 th Cir. 1977).

Under the aegis of Green V. Missouri, supra, and Rule 4 of the Arkansas Civ. P., which

Has expanded the number of Employees in a Corporation who can validly and legally

Accept service in a lawsuit, the Defendants position in the Report are frivolous.

 WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THIS MATTER PROCEED,

With the Court Conducting the Rule 26(f) Report and Striking that filed by Defendants.

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Arthur Carson




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                                      CERTIFICATE OF SERVICE




     I, Arthur Carson, certify that a copy of the foregoingBrief, in Support

    Motion to Strike Defendant'sReport, is hereby mailed to: Abtin Mehdizegan, Attorney for

    Defendants, this 19th day Of October, 2019, by placing same in the U.S. Mail, postage prepaid.

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    Arthur Carson
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